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                        UNITED STATES COURT OF APPEALS
                           FOR THE FEDERAL CIRCUIT
                                   717 MADISON PLACE, N.W.
                                   WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                                 CLERK’S OFFICE
  CLERK OF COURT                                                                    202-275-8000
                  2023-1354 - Honeywell International Inc. v. 3G Licensing, S.A.

                               NOTICE OF ORAL ARGUMENT

This case has been scheduled for oral argument on October 8, 2024, at 10:00 a.m. (Pacific).
Because the time for notifying the court of any conflict has expired, the case will not be
rescheduled absent a showing of compelling reasons. See Fed. Cir. R. 34.

                       University of California, Berkeley School of Law
 PLACE OF
                       2763-2719 Bancroft Way, Berkeley, CA 94704
 ARGUMENT
                       Courtroom: Willis Booth Auditorium (Room 175)
 COUNSEL
                       Counsel must check in at the courtroom between 9:15 and 9:30 a.m.
 REGISTRATION
                       Each party must complete and return the Response to Notice of
                       Oral Argument by September 4, 2024. Counsel should review the
 REQUIRED              court's Guide for Oral Argument prior to filing the Response. If counsel
 RESPONSE              presenting oral argument has not yet entered an appearance, counsel
                       must file a motion for leave to appear and attach the proposed entry of
                       appearance form. See Fed. Cir. R. 34(e), 47.3(b)(4).
                       Each side receives 15 minutes (including rebuttal), unless otherwise
                       directed by the court.

 ARGUMENT              In cases where one side has multiple parties represented by different
 TIME                  counsel and firms, counsel should confer and agree on the
                       apportionment of argument time before submitting Responses to the
                       Notice of Oral Argument. Appellants and Cross-Appellants may divide
                       argument between main argument and rebuttal; Appellees may not.
                       Arguing counsel must immediately contact the court if experiencing
                       COVID-19 symptoms or other medical illness that might warrant
 REMOTE                excusing an in-person appearance. Arguing counsel seeking to appear
 APPEARANCE            remotely at oral argument due to medical risk or other extraordinary
                       circumstances must file a motion and accompanying declaration
                       showing good cause within fourteen (14) days of this notice.
                                                     FOR THE COURT




August 21, 2024



                                                     By: M. Lichtenberg, Deputy Clerk
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                              ADDITIONAL INFORMATION
               Requests for any communications-related disability assistance (ASL,
               CART) must be submitted at least two weeks before the date
ACCESSIBILITY
               scheduled for argument. Please refer to the court's website for more
ACCOMMODATIONS
               information about disability-based accommodations during court
               sessions: Accommodation Notice.
                       Live audio streaming of arguments is available online. Oral argument
AUDIO ACCESS           audio files are also posted on the court's website following the
                       conclusion of each day's hearings.
                       Because all arguments are by default open to the public, live streamed
                       online, and recorded for posting on the court's website, counsel should
CONFIDENTIAL
                       be careful not to discuss any sensitive, confidential, or sealed
AND SEALED
                       information during argument. Any motion to seal the courtroom
MATERIAL
                       for oral argument must be filed at least one week before
                       argument.
                       Please plan to allow additional time for security screening. Counsel
                       and others attending argument must show photo identification and
COURT SECURITY
                       pass through security screening upon entering the courthouse.
                       Weapons, food, and beverages are prohibited.
                       Only Federal Circuit bar members and government counsel
                       may sit at counsel tables and address the panel in the
COURTROOM              courtroom. Other individuals must sit in the public gallery unless
SEATING                they are also members of the bar. The courtroom opens one hour
                       before argument begins; general seating is available on a first-come,
                       first-served basis.
                       The digital clock on the podium provides a countdown of the time
                       remaining of your argument, along with color-coded light cues:

DIGITAL CLOCK             •   Green - Within allotted time
                          •   Yellow - Within scheduled rebuttal time (if applicable)
                          •   Red - Time expired


                       Electronic devices must be turned off upon entering a courtroom, but
ELECTRONIC
                       counsel may use electronic devices, including laptops, in silent mode
DEVICES
                       while seated at the counsel tables.
                       The identity of the judges sitting on the panel hearing this case will
IDENTITY OF THE        not be disclosed until the morning of argument. Panel members will be
PANEL                  posted outside of the courtroom and on the court's website the morning
                       of argument.
                       Cases are called in the order listed on the calendar posted outside the
ORDER OF CASES         courtroom and on the court's website. While waiting, counsel should
                       remain in the courtroom or its immediate vicinity.
For additional information about attending oral argument, please visit our website.
